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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

AUTOSCRIBE CORPORATION                              §
                                                    §
                                                                Case No. 2:23-cv-0349-JRG
          v.                                        §
                                                    §
                                                               JURY TRIAL DEMANDED
M&A Ventures, LLC                                   §
                                                    §

    JOINT MOTION TO EXTEND THE P.R. 4-3 JOINT CONSTRUCTION STATEMENT
                       DEADLINE TO AUGUST 2, 2024

          Comes Now, Plaintiff Autoscribe Corporation and Defendant M&A Ventures, LLC 1

hereby file their Joint Motion to Extend the deadline to comply with P.R. 4-3 (Joint Claim

Construction Statement), and in support thereof, would show as follows:

          1. Per Dkt. 34, the deadline to comply with P.R. 4-3 (Joint Claim Construction Statement)

               is currently July 29, 2024.

          2. The parties are presently conferring to narrow the scope of claim construction issues in

               dispute and anticipate being able to present a finalized version by August 2, 2024. The

               parties respectfully request a four-day extension to submit their Joint Claim

               Construction Statement.

          3. This Motion is not filed for the purpose of delay, and the parties jointly agreed to the

               relief requested herein.



Dated: July 26, 2024




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    The other parties in this case have been dismissed.
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Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2024, a true and correct copy of the above and foregoing
document was filed electronically. As such, this document was served on all counsel of record
pursuant to the Federal Rules of Civil Procedure.

                                                       /s/ Jason McManis
                                                      Jason McManis




                             CERTIFICATE OF CONFERENCE

        I hereby certify that on July 25, 2024 the parties conferred regarding the Motion, and the
parties jointly requested the relief thought herein.


                                                       /s/ Jason McManis
                                                      Jason McManis




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